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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF PENNSYLVANIA

DOSKOCIL MANUFACTURING
COMPANY, INC. d/b/a PETMATE,
Civil Action No.
Plaintiff,

 

UNIQUE PETZ, LLC,

Defendant.

COMPLAINT FOR PATENT INFRINGEMENT

Plaintiff, Doskocil Manufacturing Company, Inc. d/b/a Petmate, hereby files this
Complaint for Patent Infringement against Unique Petz, LLC as follows:

NATURE OF THE ACTION AND SUBJECT MATTER JURISDICTION

1. This is an action for patent infringement arising under the Patent Laws of
the United States 35 U.S.C. §§ 1 ef seq. and in particular arising under 35 U.S.C. § 271.
2. This Court has subject matter jurisdiction over this action pursuant to
35 U.S.C. § 281 and 28 U.S.C. §§ 1331 and 1338 because this action arises under the
laws of the United States and Acts of Congress relating to patents. The activities of
Unique Petz, LLC described herein are sufficient to subject it to the personal jurisdiction
of this Court.

PARTIES

3. Doskocil Manufacturing Company, Inc. d/b/a Petmate (“Doskocil’) is a
corporation organized and existing under the laws of the State of Texas with its principal

place of business located at 2300 East Randol Mill Road, Arlington, Texas 76011.

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4. Unique Petz, LLC (‘Unique’) is a limited liability company organized and
existing under the laws of the State of Delaware with its principal place of business
located at 10 West 33 Street, Suite 220, New York, NY 10001.

VENUE

5. Venue over this action is proper in this Court pursuant to 28 U.S.C.

 

§§ 1391(b) because this judicial district is a judicial district in which a substantial pari of
the events giving rise to the claims asserted herein occurred, because Unique is subject
to personal jurisdiction and therefore resides within this judicial district and because
Unique has committed acts of patent infringement.

PATENT NO. 6,076,829

6. On June 20, 2000, United States Patent No. 6,076,829 (the “829 Patent”)
was duly and validly issued to Mark Oblack, for a Ball Throwing Apparatus and Method.
A true and correct copy of the ‘829 Patent is attached to the Complaint as “Exhibit A”
and is incorporated herein by this reference.

7. Through a December 11, 2012 assignment from Mark Oblack to Canine
Hardware, Inc. and subsequent July 3, 2014 merger of Canine Hardware inc. into
Doskocil, Doskocil is the owner of the ‘829 Patent. The ‘829 Patent is currently
subsisting, and Doskocil is the real party-in-interest with the right to seek the relief

requested in this Complaint.

 

COUNT I
INFRINGEMENT OF THE ‘829 PATENT
8. The allegations of Paragraphs 1 through 7 are incorporated herein by this
reference.

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9. Unique, without authorization from Doskocil, has been and is engaged in
making and/or importing into the United States and offering for sale and selling in this
judicial district and elsewhere, infringing products, including a pet ball throwing device
which it sells under the name “Unique Petz Ball Launcher” an image of which is

‘attached hereto as “Exhibit B”, which is incorporated herein by this reference.

 

10. | Unique, in this judicial district and elsewhere in the United States, is
offering for sale and selling the “Unique Petz Ball Launcher” ball throwing device
which infringe the inventions set forth in one or more claims of the ‘829 Patent, and/or is
contributing and/or is actively inducing the making, offering for sale, selling and/or use
of products which infringe the inventions of one or more of the claims of the ‘829 Patent
in violation of 35 U.S.C. §§ 271(a), 271(b) and/or 2771(c).

11. The infringement of the ‘829 Patent by Unique has been willful and
deliberate and in conscious disregard of Doskocil’s rights.

12. As aconsequence of the foregoing, Unique has caused and is continuing
to cause damage to Doskocil and, unless such acts are enjoined by this Court, Unique
will continue to cause irreparable harm to Doskocil for which there is no adequate
remedy at law and for which Doskocil is entitled to injunctive relief under 35 U.S.C. §

283.

RELIEF REQUESTED
WHEREFORE, Doskocil prays for relief as follows:
A. That the Court adjudge that Unique has infringed one or more of the claims
of the ‘829 Patent:

B. That the Court adjudge that the infringement by Unique has been willful;

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C. That the Court award Doskocil its damages in accordance with 35 U.S.C.

§ 284, and increase those damages up to three (3) times by reason of the willful

infringement;
D. That the Court awarded Doskocil its costs in connection with this action;
E. That the Court declare this to be an “exceptional” case within the meaning

 

of 35 U.S.C. § 285, and award Doskocil its reasonable attorney’s fees, expenses and
costs of this action;

F. That the Court preliminarily and permanently enjoin Unique and its officers,
agents, servants, employees, attorneys and those persons in active concert with or
participation with them who receive actual notice hereof by personal service or otherwise
from committing further acts of infringement of the ‘829 Patent.

G. That the Court award Doskacil such other and further relief as the Court

deems just and proper.

Respectfully submitted,

Dated: January 22, 2015
/s/ Mark A. Willard
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